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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                            04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                  Defendants.


_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                   DECISION & ORDER

      The Government moves to quash subpoenas duces tecum seeking various

documents, including reports and notes, from two of the Government’s expert witnesses -

Rohan Gunaratna and Rodney Ratledge. See Dkt. # 289. For the reasons set forth in the

Government’s motion and as addressed more fully at the pre-trial conference held on

August 22, 2006, it is hereby

      ORDERED that the Government’s motion to quash the subpoenas duces tecum

seeking various documents from Rohan Gunaratna and Rodney Ratledge [dkt. # 289] is

GRANTED, and it is further

      ORDERED that before Rohan Gunaratna and Rodney Ratledge testify, the

Government shall produce for the Court for in camera review those documents that are

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otherwise responsive to the aforementioned subpoenas duces tecum. The Court will

review the files and determine which documents, if any, should be turned over to

Defendants. And, it is further

       ORDERED that, for the reasons set forth in the Court’s August 11, 2006 Decision

and Order [dkt. # 282] and based upon the concerns raised by defense counsel at the

August 22, 2006 pre-trial conference, Rohan Gunaratna’s expert witness report (Exhibit A

to Defendant Hossain’s Pre-trial Motions) shall REMAIN SEALED UNTIL FURTHER

ORDER OF THIS COURT OR UNTIL THE JURY RENDERS A VERDICT IN THIS

MATTER, whichever shall occur first. Despite the report remaining sealed during the trial,

counsel may use and refer to the report for purposes of examination at trial.



IT IS SO ORDERED

DATED:August 23,2006




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